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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION



SECURITIES AND EXCHANGE                       )       Case No.: 1:14 CV 1155
COMMISSION,                                   )
                                              )
       Plaintiff                              )       JUDGE SOLOMON OLIVER, JR.
                                              )
       v.                                     )
                                              )
THOMAS ABDALLAH                               )
(aka Thomas Abraham), et al.,                 )
                                              )
       Defendants                             )       ORDER


       Currently pending before the court in the above-captioned case is the Second Interim

Application for Compensation and Reimbursement of Expenses (“Application”) (ECF No. 252)

of Kohrman Jackson & Krantz, LLP (“KJK”), counsel for Receiver James Ehrman (“Receiver”),

for the period commencing April 1, 2015 through and including December 1, 2015. As of the date

of this Order, no party in interest has filed an objection or other response to the Application or

requested a hearing on the Application.

       The court, having considered the Application and the statements of counsel contained

therein and the docket for this case, finds that the compensation requested by KJK for services

rendered in connection with their representation of the Receiver for which they seek interim

allowance in the Application, is reasonable and appropriate under the Order Appointing Receiver

(ECF No. 119, at ¶¶ 59-64) and the “Billing Instructions for Receivers in Civil Actions

Commenced by the U.S. Securities and Exchange Commission.”

       Accordingly, the court grants the Application. (ECF No. 252.) KJK is allowed, on an

interim basis (See ECF No. 119, at ¶ 61), compensation for actual and necessary professional

services rendered to the Receiver during the period commencing April 1, 2015 through and
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including December 1, 2015 in the amount of $82,364.88 and reimbursement of disbursements

and expenses in the amount of $1,836.10. The Receiver is authorized to pay:

                (a) $65,891.90 (80% of $82,364.88) to KJK for professional

                services rendered, with $27,348.00 paid from general receivership

                funds, $27,080.00 from the proceeds of assets recovered from

                Jeffrey and Nancy Gainer, and $11,463.90 from the proceeds of

                assets recovered from Jeffrey Cicolani ; and

                (b) $1,836.10 for reimbursement of out-of-pocket expenses.

(See ECF No. 119, at ¶ 62.) The remaining balance shall be held subject to KJK’s final fee

application and the Receiver’s Final Accounting. (See ECF No. 119, at ¶ 64.)

       IT IS SO ORDERED.



                                                     /S/ SOLOMON OLIVER, JR.
                                                     CHIEF JUDGE
                                                     UNITED STATES DISTRICT COURT


June 10, 2016




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